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UNITED STATES DISTRICT COURT

DISTRICT OF MARYLAND
SOUTHERN DIVISION
Georgina Kemeh *
*
Plaintiff *
*
v. * Case No. 8:17 cv 02676 PX
*
Darcars of Rockville Pike, LLC, etal., *
*
Defendant *
*

 

STIPULATION OF DISMISSAL WITH PREJUDICE

The parties, through their attorneys, and pursuant to FRCP 41(a)(1)(A)(ii) hereby

stipulgte to dismissal of this action with prejudice, with each party to bear its own costs and fees.

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Et LES ZL

 

 

 

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CERTIFICATE OF SERVICE

This is to certify that the foregoing was served via the Court’s electronic filing on all

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counsel and parties of record.
